56 F.3d 1531
    312 U.S.App.D.C. 461
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.DIRECTORY PUBLISHING SERVICES, et al., Appellants,v.Marvin RUNYON, et al., Appellees.
    No. 94-5097.
    United States Court of Appeals, District of Columbia Circuit.
    May 31, 1995.
    
      Before:  BUCKLEY, WILLIAMS, and RANDOLPH, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs of counsel.  The issues have been accorded full consideration by the Court and occasion no need for a published opinion.  See D.C.Cir.R. 36(b).
    
    
      2
      For substantially the reasons stated by the District Court in its opinion, it is
    
    
      3
      ORDERED AND ADJUDGED, by the Court, that the judgment of the district court is hereby affirmed.
    
    
      4
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.R. 41(a)(1).
    
    